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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,          ) 1:08-cr-0124 OWW
                                        )
12                                      )
                    Plaintiff,          ) ORDER RE: RULE
13                                      ) 404(b) EVIDENCE RELATING TO
                                        ) DEFENDANT SUAREZ
14             v.                       )
                                        )
15                                      )
     RODOLFO SUAREZ, JR.,               )
16                                      )
                    Defendant.          )
17   ___________________________________)

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          The above-captioned matter was heard before this Court on
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     March 5, 2010.    The Court considered oral argument by the parties
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     and its written pleadings consisting of: (1) the government’s
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     notice of its intention to introduce Rule 404(b) evidence of the
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     defendant’s 2003 conviction for felony conviction of possession of
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     methamphetamine, (2) the defendant’s opposition to the Rule 404(b)
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     evidence, and (3) the government’s reply.
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          The Court found that the evidence satisfied the Ninth
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     Circuit’s four-part test regarding admissibility.          That is, the
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     evidence bears on a material element, i.e., knowledge and intent,
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 1   of the offenses for which the defendant is now charged.            The

 2   evidence is also similar to the type of drug involved in the

 3   charges.   Proof of the prior conduct could be made on the basis of

 4   sufficient evidence.      Finally, the prior conduct is not too

 5   remote in time, since it occurred only three years prior to the

 6   charged conspiracy.

 7        However, the Court found based on a balancing of the

 8   probative value of the evidence against its prejudicial effect

 9   that the Rule 404(b) evidence is potentially more prejudicial than

10   probative.   Its admissibility is limited to the extent that the

11   defendant testifies and denies knowledge of or familiarity with

12   drugs and/or drug trafficking or the defendant raises such issues

13   during the government’s case-in-chief.

14        Unless and until further offer of proof,

15        IT IS THEREFORE THE ORDER OF THE COURT that the government’s

16   Rule 404(b) is admissible only to the extent set forth herein.

17   IT IS SO ORDERED.

18   Dated: March 9, 2010                   /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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